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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                                 :
                                                       :      CHAPTER 7
MARVELAY, LLC,                                         :
                                                       :      CASE NO. 18-69019
                   Debtor.                             :
                                                       :
                                                       :
                                                       :
MARTHA A. MILLER, Chapter 7 Trustee                    :
for MARVELAY, LLC,                                     :
                                                       :
                   Plaintiff,                          :
                                                       :
v.                                                     :      ADVERSARY PROCEEDING
                                                       :      NO. 20-06238-lrc
SKYDIVE SPACELAND (HOUSTON)                            :
                                                       :
                   Defendant.                          :
                                                       :

                                 JOINT STIPULATION OF DISMISSAL

         Plaintiff, Martha A. Miller, as the Chapter 7 Trustee for Marvelay, LLC (“Plaintiff”), and

Defendant B&B Aviation, LLC, d/b/a Skydive Spaceland (Houston) (“Defendant”) have executed

that certain Settlement Agreement (the “Settlement Agreement”) attached as Exhibit 1 to the

Trustee’s Motion for Order Authorizing Compromises and Settlements with Various Defendants

under Federal Rules of Bankruptcy Procedure Rule 9019 (Doc. No. 164), which was approved by

Order of the Court dated August 25, 2021 (Doc. No. 166). Pursuant to the Settlement Agreement,

Plaintiff released the claims at issue in this adversary proceeding as specifically set forth therein,

and the conditions of paragraph 3 of the Settlement Agreement have now been met. Accordingly,

pursuant to the Settlement Agreement, the parties hereby stipulate to the dismissal, with prejudice,

of this adversary proceeding and the adversary proceeding is hereby dismissed with prejudice.




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Dated: February 1, 2022.

 Consented to by:                                  Respectfully submitted:

 /s/ Gregory D. Ellis                              /s/ Glenn E. Glover
 Gregory D. Ellis                                  Glenn E. Glover
 Georgia Bar No. 245310                            Bradley Arant Boult Cummings LLP
 gellis@lcenlaw.com                                One Federal Place
 Lamberth, Cifelli, Ellis & Nason, P.A.            1819 Fifth Avenue North
 6000 Lake Forrest Drive, N.W., Ste. 435           Birmingham, AL 35203
 Atlanta, GA 30328                                 (205) 521-8000
 P: (404) 262-7373                                 gglover@bradley.com
 Attorneys for Trustee                             Attorneys for Defendant

                                CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2022, I have caused a true and correct copy of the
foregoing to be served electronically through the Court’s CM/ECF system to all parties requesting
such service in this adversary proceeding.

                                                   /s/ Glenn E. Glover
                                                   Glenn E. Glover




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